       Case 3:18-md-02843-VC Document 910-11 Filed 04/11/22 Page 1 of 4




            Exhibit 22
REDACTED VERSION OF DOCUMENT SOUGHT TO BE FILED UNDER SEAL
       Case 3:18-md-02843-VC Document 910-11 Filed 04/11/22 Page 2 of 4




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


                                             MDL NO. 2843
IN RE: FACEBOOK, INC. CONSUMER               CASE NO. 3:18-MD-02843-VC-JSC
PRIVACY USER PROFILE LITIGATION,
                                            Hon. Vince Chhabria
                                            Courtroom 4 – 17th Floor
This document relates to:                   Special Master: Daniel Garrie, Esq.

ALL ACTIONS                                   ORDER REGARDING OUTSTANDING
                                              ADI ISSUES

                                              JAMS REF. NO: 1200058674




                       ORDER REGARDING OUTSTANDING ADI ISSUES
       Case 3:18-md-02843-VC Document 910-11 Filed 04/11/22 Page 3 of 4




                                        BACKGROUND

        1.     On September 8, 2021, Judge Corley issued an order granting Plaintiffs’ motion

to compel the production of materials in connection with Facebook’s app developer investigation

(“ADI”) that involved a review of all “apps that had access to large amounts of data before [Fa-

cebook] changed [its] platform policies in 2014.” See https://about.fb.com/news/2019/09/an-

update-on-our-app-developer-investigation/.

        2.     Pursuant to the order:

       On or before September 21, 2021, Facebook shall produce the background and tech-
       nical reports, audits and developer interviews of the six exemplar apps chosen by the
       parties as Facebook has offered no special reasons why those particular documents
       are privileged other than what has been addressed. The parties shall work with the
       Special Master regarding production of additional materials consistent with the guid-
       ance offered by this Order. See Exhibit A (Order Granting Motion to Compel ADI
       Materials).

        3.     Pursuant to Judge Corley’s order, Facebook produced 11 documents related to the

ADI. Following this production, Plaintiffs raised multiple issues in connection with Facebook’s

ADI production and requested “all memoranda prepared by                       and/or

     related to ADI of all apps it investigated or investigated at Facebook’s direction, the back-

ground and technical reports, audits, and developer interviews, and internal Facebook communi-

cations regarding these materials (including those pertaining to the six exemplar apps).” See Ex-

hibit B (Plaintiffs’ Email of September 24, 2021).

        4.     The parties subsequently met and conferred regarding Facebook’s ADI produc-

tion and it appears based the parties’ correspondence that there remain outstanding issues with

respect to ADI. Specifically, Plaintiffs “request that Facebook produce the following documents

related to phases two and three of the ADI: (1) All memoranda prepared by                      or

               ; (2) All background reports, technical reports, audits, and developer interviews;

(3) All internal Facebook communications relating to items 1 and 2; (4) All communications

                                                 1
                        ORDER REGARDING OUTSTANDING ADI ISSUES
           Case 3:18-md-02843-VC Document 910-11 Filed 04/11/22 Page 4 of 4




with                   or                 related to items 1 and 2.” See Exhibit C (Plaintiffs’

Email of October 20, 2021).

                                               ORDER

           5.    Special Master Garrie finds that additional briefing is necessary to identify the

outstanding issues regarding ADI and assist Special Master Garrie in resolving such issues with

parties.

           6.    No later than October 25, 2021, the parties are each to submit to Special Master

Garrie a statement regarding the outstanding ADI issues. Each statement is to identify each issue

in plain language, provide an example representing each issue (not to exceed one paragraph), and

state the party’s position on the issue (not to exceed two paragraphs).

           7.    No later than November 4, 2021, the parties are to submit a response statement

with respect to each issue stating their position (not to exceed one paragraph).

           8.    The parties are to coordinate with JAMS to make themselves available for a hear-

ing regarding these issues on November 11, 2021.


IT IS SO ORDERED.


           October 26, 2021                            ______________________________
                                                       Daniel Garrie
                                                       Discovery Special Master




                                                   2
                            ORDER REGARDING OUTSTANDING ADI ISSUES
